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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              ALBANY DIVISION

KYDAISHA BURTON, individually, and            :
as Mother, Next Friend, and Natural           :
Gaurdian of K.B., her minor child, and        :
KESHAWN CAMPELL, individually,                :
      Plaintiffs,                             :
                                              :
v.                                            :      CASE NO.: 1:21-CV-17 (LAG)
                                              :
UNITED STATES OF AMERICA,                     :
                                              :
       Defendant.                             :
                                              :
                                         ORDER
       Before the Court is Plaintiffs’ Motion for Leave to Request Additional Request for
Production Under Local Rule 34 of the Middle District of Georgia and Federal Rules of
Civil Procedure 26 and 34 (Motion). (Doc. 43).
       Plaintiffs filed their Complaint on January 20, 2021, bringing claims for medical
negligence and direct liability/institutional negligence against the Government. (Doc. 3 ¶¶
111–142). After the Court denied Defendant’s Motion to Dismiss, Defendant filed its
Answer, and the Parties proceeded with discovery. (See Docs. 15, 17, 24). On March 30,
2023, the Government filed a motion for extension of time to file its motion for joinder
(Motion for Extension). (Doc. 27). The Government then filed the Motion to Join Party
Defendants and Memorandum in Support (Motion for Joinder) on May 3, 2023. (Doc. 30).
Subsequently, Plaintiffs filed the Motion to Strike the Government’s Motion to Join Party
Defendants and Memorandum in Support (Motion to Strike) because the Motion for
Joinder was filed without leave from the Court. (Doc. 32 at 1). The Court held a discovery
hearing on July 25, 2023. (See Doc. 39). At the hearing, the Court denied Plaintiff’s Motion
to Strike and granted the Government’s Motion for Extension. (Doc. 48 at 4:11–5:9). The
Court also stayed oral discovery, including expert reports and written expert discovery,
pending the resolution of Defendant’s Motion for Joinder. (Id. at 18:20–19:7). The Court
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then told the Parties that “written discovery should go ahead and continue[.]” (Id. at 18:21–
22). Finally, the Court granted Plaintiffs leave to file a motion to file additional requests
for production of documents. (Id. at 21:18–21).
        In the Motion, Plaintiffs represent that the additional requests for production “are
relevant to the claims made by Plaintiffs in their Complaint and the information and
documents produced through those requests would support Plaintiffs’ burden of proof and
reveal facts and evidence important to the issues at stake in this action.” (Doc. 43 at 4).
They also represent that “the documents and slides/re-cuts being requested by Plaintiffs are
in the sole possession of the [Government][,]” and that they have “no other way to obtain
those materials except from the [Government][.]” (Id. at 11). The Government filed a
response representing that it does not oppose the Motion, but it asks that the “Court stay
the deadline for any response to these requests[,] [g]iven that discovery in the case is stayed
while the Court decides the [Government’s] pending motion to join[.]” (Doc. 46 at 1). The
Government requests that its deadline to respond be stayed until thirty days after this Court
enters an Order on Defendant’s Motion for Joinder (Doc. 30). (Doc. 46 at 1–2). Plaintiff
did not file a Reply or otherwise object to the Government’s request to stay the deadline to
respond. (See Docket).
        Accordingly, for good cause shown, Plaintiff’s Motion (Doc. 43) is GRANTED.
Plaintiffs may serve the seventeen (17)1 additional requests for production listed in their
Motion on the Government. (Doc. 43 at 4–11). While the stay in this matter applies only
to oral discovery, as Plaintiffs have not objected to the Government’s request for a stay
related to these additional requests for production, the Government shall respond to
Plaintiffs’ request for production within thirty (30) days of the entry of an Order on
Defendant’s Motion for Joinder.




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 Plaintiffs and Defendant represent that there are sixteen additional requests for production, but this Court
counts seventeen. (Doc. 43 at 4, 11; Doc. 46 at 1).


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     SO ORDERED, this 24th day of January, 2024.

                             /s/ Leslie A. Gardner
                             LESLIE A. GARDNER, JUDGE
                             UNITED STATES DISTRICT COURT




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